Case 1:19-cv-09033-JGK Document 93 Filed 09/09/22 Page1of1

Case 1:19-cv-09033-JGK Document 90 Filed 09/09/22 Page 1 of 1

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Ryan G., Pi P.
= SEGALLA a | _ Direct 716.844.3454 | mitre ndngokdbergsegalia.com

 
 

September 9, 2022

BY ECF

Honorable John G. Koeltl

United States District Court for the Southern District of New York
Daniel P. Moynihan United States Courthouse

500 Pearl Street

New York, NY 10007-1312

Re: Phyto Tech Corp. v. Givaudan SA
No. 1:19-cv-09033

We represent Givaudan SA (“Givaudan”) in the above matter. By this letter, Givaudan
respectfully requests leave to file a copies of two versions of the license agreement between non-
parties Conagen Inc. and BASF SE (the “BASF Agreement”), which have been designated
confidential under the protective order in this matter, under seal. Givaudan further requests leave
to file Givaudan’s Reply in Support of Its Objections to the Liquidating Trustee’s Final Report and
Motion for Approval of the Trustee’s Proposed Wind-Up and Dissolution of BGN Tech, LLC
under partial seal and to redact certain portions of that document. The content Givaudan seeks to
seal in that document is limited to descriptions of and references to the aforementioned BASF

Agreement.

Givaudan will of course be happy to provide any further information should the Court
require it. Thank you for your attention to this matter.

~ ApPLIGATIONGRANTED. Respectfully submitted,
_.. SO ORDERED

ohn G. Koeltl, US.Du.

Spa f
YG /odd

/s Ryan G, Pitman

Ryan G. Pitman

 

Office Location: 665 Main Street, Buffalo, NY 14203-4425 | 716-566-5400 | Fax: 716-566-5401 | www.goldbergsegalla.com
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